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Cumberland Circuit Circuit Court           Case No.:CL19000236-00
CUMBERLAND COUNTY VIRGINIA         Vs      PURDUE PHARMA LP



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 COURT ADDRESS:
 P. O. BOX 8
 CUMBERLAND, VA 23040
 PHONE # :804-492-4442




                                                                   OFFICIAL RECEIPT
                                                            CUMBERLAND COUNTY CIRCUIT COURT
                                                                         CIVIL



              DATE : 08/09/2019                  TIME : 16:12:18                                CASE # : 049CL1900023600




                                                              PY
          RECEIPT # : 19000002380       TRANSACTION # : 19080900015
         CASHIER : DDM           REGISTER # : D025                                       FILING TYPE : GTOR                  PAYMENT : FULL PAYMENT
 CASE COMMENTS : CUMBERLAND COUNTY VIRGIN v. PURDUE PHARMA LP
    SUIT AMOUNT : $20,000,000.00
      ACCOUNT OF : CUMBERLAND COUNTY VIRGINIA
          PAID BY : CUMBERLAND COUNTY VIRGINIA
            CASH : $0.00
    DESCRIPTION 1 : GTOR:GENERAL TORT LIABILITY
                        2 : PLAINTIFF: CUMBERLAND COUNTY VIRGINIA



                                     O
                        3 : NO HEARING SCHEDULED

                                             ACCOUNT
                                              CODE
                                               304
                                                                      DESCRIPTION

                                                     CIVIL FILING FEE (LAW & EQUITY)
                                                                                                       PAID

                                                                                                              $0.00
                                    C
                                                                                                                           TENDERED : $         0.00
                                                                                                                       AMOUNT PAID : $          0.00




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